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                    EXHIBIT 2
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   Louis W. Fisher is an associate at Kaplan Hecker & Fink LLP. His practice
   encompasses a wide variety of civil and crilninal matters, including high stakes                             EDUCATION
   comn1ercial litigation, complex and class action litigation, constitutional and civil rights
   litigation, and individual representations. At Kaplan Hecker & Fink, Louis's                                 B.A., Columbia University
   representative matters include pursuing claims on behalf of victilns of sexual assault,                      summa cum laude and Phi Beca Kappa
   defending educational institutions in Title IX matters, representing a putative class of                     J.D., Harvard Law School, 2016
   consumers in a class action alleging fraud, and defending several individuals in
                                                                                                                magna cum laude
   connection ,vith federal criminal investigations and prosecutions. Louis also maintains
   an active pro bono practice, focused primarily on civil rights matters.
                                                                                                                CLERKSHIPS
   Louis joined tl1e firm from tl1e NAACP Legal Defense and Educational Fund, Inc.,
   where he worked on high-impact civil rights litigation involving issues of educational                       Hon. Stephen Reinhardt, U.S. Court of
   equity, fair housing, and crimillal justice. He previously completed clerkships for the                      Appeals for the Ninth Circuit

   Honorable J. Paul Oetken of the U.S. District Court for the Soumern District of New                          Hon. J. Paul Oetken, U.S. District Court
   York and the Honorable Stephen Reinhardt of the U.S. Court of Appeals for tl1e Ninth                         for the Southern District of New York

   Circuit. Louis' scholarship has been published ill the Harvard Law Review Forwn, tl1e
   Harvard Civil Rights-Civil Liberties Law Review, tl1e West Virginia Law Review, and                          FELLOWSHIPS, LEADERSHIP &
   the University ofPennsylvania Journal ofConstitutional Law.                                                  RECOGNITION

   Louis is a magna cun1 Jaude graduate of Harvard Law School, where he was tl1e                                Executive Managing Editor, Harvard Civil
   Executive Managing Editor of me Harvard Civil Rights-Civil Liberties La1v Review,                            Rights-Civil Liberties Law Review
   and received the lrvi11g Oberman Men1orial Writing Prize for the best paper in                               Ivring Oberman Memorial Writing Prize,
   constitutional law and tl1e Klemens von Klemperer Writing Prize for the most                                 Harvard Law School
   compelling paper in the field of resistance. He was also a,varded several fellowships,                       Klemens von Klemperer Writing Prize,
   includillg a student fellov,ship ,vim The Project on Foundations of Private Law, the                         Harvard Law School
   La,v Fello,vship at Auschwitz for the Study of Professional Ethics (FASPE), and the                          Student Fellowship, The Project on
   HLS Summer Academic Fellowship. \10hile at Harvard, Louis served for two years as a                          Foundations of Private Law
   student-attorney in the housing practice of the Harvard Legal Aid Bureau, ,vhere he                          Law Fellowship, Fellowship at Auschwitz
   primarily represented tenants in housing court.                                                              for the Study of Professional Ethics
                                                                                                                (FAPSE)
   Louis began his career as an English teacher witl1 Teach For America ill J\1.iami,
                                                                                                                Summer Academic Fellowship, Harvard
   Florida. He graduated swmna cum laude and Phi Beta Kappa from Columbia                                       Law School
   University.

                                                                                                                BAR AND COURT ADMISSIONS

                                                                                                                U.S. Court of Appeals for the Second,
                                                                                                                Fourth, Ninth, and 'Tenth Circuits

                                                                                                                U.S. District Court for the Southern
                                                                                                                District of New York and Eastern District
                                                                                                                of New York

                                                                                                                U.S. District Court for the District of
                                                                                                                Colorado
                                                                                                                New York




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Assemblywoman Diana                                 Emolument Clauses Lawsuit                                   Fisher ,vas published in the most recent
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